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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                        DOC#: - - - - . - - - - ; - -
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UNITED STATES OF AMERICA

              -    v. -

STEVEN BROWN,                                     16 Cr. 436 (KMW)
                           Defendant.

- - - - - - - - - - - - - - - - - -x
              Upon the application of the United States of America,

by and through Assistant United States Attorneys Katherine

Reilly, Noah Solowiejczyk, and Ryan Finkel, and with the consent

of defendant STEVEN BROWN, by and through Walter Mack, Esq., it

is hereby ORDERED that the time between April 9, 2018 and April

16, 2018 is excluded under the Speedy Trial Act, 18 U.S.C.

§ 3161 (h),       in the interests of justice.

              The court finds that the ends of justice served by

granting a continuance outweigh the best interests of the public

and the defendant in a speedy trial, because the granting of the

continuance will permit the defense to continue to prepare for

trial.

Dated:   New York, New York
         March~, 2018



                                        THE HONORABLE KIMBA M. WOOD
                                        UNITED STATES DISTRICT JUDGE
